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                   JOYCE STOLL, Plaintiff-Appellant/Cross-Appellee, v CITY OF DETROIT,
                                  Defendant-Appellee/Cross-Appellant.

                                                       No. 226889

                                       COURT OF APPEALS OF MICHIGAN

                                              2002 Mich. App. LEXIS 426


                                               March 12, 2002, Decided

NOTICE:      [*1] THIS IS AN UNPUBLISHED                      immunity is broadly granted to governmental agencies
OPINION. IN ACCORDANCE WITH MICHIGAN                          pursuant to MCL 691.1407(1), which provides:
COURT OF APPEALS RULES, UNPUBLISHED
OPINIONS ARE NOT PRECEDENTIALLY BINDING                                Except as otherwise provided in this act,
UNDER THE RULES OF STARE DECISIS.                                    a governmental agency is immune from
                                                                     tort [*2] liability if the governmental
PRIOR HISTORY:            Wayne Circuit Court. LC No.                agency is engaged in the exercise or
96-639538-CZ.                                                        discharge of a governmental function.
                                                                     Except as otherwise provided in this act,
DISPOSITION: Affirmed.                                               this act does not modify or restrict the
                                                                     immunity of the state from tort liability as
JUDGES: Before: Jansen, P.J., and Zahra and Meter, JJ.               it existed before July 1, 1965, which
                                                                     immunity is affirmed.
OPINION

    PER CURIAM.                                                    A "governmental function" is an activity "expressly
                                                              or impliedly mandated or authorized by constitution,
    Plaintiff appeals as of right from an order granting      statute, local charter or ordinance, or other law." MCL
defendant summary disposition of plaintiff's claims for       691.1401(f); Coleman v Kootsillas, 456 Mich. 615, 619;
defamation, sex discrimination, intentional infliction of     575 N.W.2d 527 (1998). A governmental agency can be
emotional distress, and invasion of privacy, pursuant to      held vicariously liable only when its officer, employee, or
MCR 2.116(C)(10). Defendant cross-appeals, challenging        agent, acting during the course of employment and within
the trial court's determination that plaintiff's claims for   the scope of authority, commits a tort while engaged in
defamation, intentional infliction of emotional distress,     an activity that is nongovernmental or proprietary, or
and invasion of privacy were not barred by governmental       which falls within a statutory exception. If the activity in
immunity. We affirm.                                          which the tortfeasor was engaged at the time the tort was
                                                              committed constituted the exercise or discharge of a
    Turning first to the issue of governmental immunity,
                                                              governmental function, the agency is immune pursuant to
we conclude that the trial court erred in rejecting this
                                                              § 7 of the governmental immunity act. Ross v Consumers
defense in regard to the alleged conduct of Archie Ward,
                                                              Power Co (On Rehearing), 420 Mich. 567, 624-625; [*3]
defendant's Chief of Firefighting Operations. Tort
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363 N.W.2d 641 (1984); Scameheorn v Bucks, 167 Mich.              their names did not appear in any memo, there was no
App. 302, 310-311; 421 N.W.2d 918 (1988). For high                evidence that any of these men reported injuries from an
level executives, the test for immunity is whether they are       alleged failure to utilize a SCBA, which was the basis for
acting within their executive authority. MCL                      including plaintiff's name in the memo in question.
691.1407(5); American Transmissions, Inc v Attorney               Moreover, even assuming plaintiff established a prima
General, 454 Mich. 135, 144; 560 N.W.2d 50 (1997);                facie case of sexual discrimination, defendant offered a
Payton v Detroit, 211 Mich. App. 375, 394; 536 N.W.2d             legitimate nondiscriminatory reason for placing plaintiff's
233 (1995); Meadows v Detroit, 164 Mich. App. 418,                name in the memo, and plaintiff failed to show that there
426-427; 418 N.W.2d 100 (1987).                                   was a triable issue that this reason was a mere pretext for
                                                                  discrimination. Lytle v Malady (On Rehearing), 458
     In this case, the evidence establishes that Warde was        Mich. 153, 173-174, 579 N.W.2d 906 (Weaver, J.); 579
acting within his executive authority when he sent a              N.W.2d 906 (1998)
memo to all firefighter division personnel advising of the
risks of exposure to carbon monoxide and the importance                Plaintiff also contends that she has a viable
of wearing a Self-Contained Breathing Apparatus                   discrimination claim based on a hostile work
(SCBA). Contrary to plaintiff's suggestion, Warde's intent        environment. Discrimination because of sex includes
or motive is irrelevant to the analysis of whether he acted       "sexual harassment," which [*6] consists of verbal or
within his executive authority. Armstong v Township of            physical conduct of a sexual nature that has the purpose
Ypsilanti, ___ Mich App ___; ___ N.W.2d ___ (Docket               or effect of creating an intimidating, hostile or offensive
No. 222924, issued 12/7/01), slip op at 12-13 (discussing         employment environment. MCL 37.2103(i). Here,
American Transmissions, supra at 143-144). [*4]                   however, plaintiff relies on a series of allegedly offensive
                                                                  acts that occurred years earlier and, in order to overcome
     Accordingly, the trial court erred in concluding that        the applicable limitations period for such claims, relies on
defendant was not entitled to immunity. Although the              the continuing violation doctrine adopted in Sumner v
court dismissed plaintiff's claims for defamation,                The Goodyear Tire & Rubber Co, 427 Mich. 505; 398
intentional infliction of emotional distress, and invasion        N.W.2d 368 (1986). Under Sumner, a continuing
of privacy for other reasons, and not on the basis of             violation may not be established if none of the relevant
immunity, it reached the right result and, therefore, we          conduct occurred within the limitations period. Id. at 539.
affirm the dismissal of those claims. Hall v McRea Corp,          Moreover, the mere existence of a vague or undefined
238 Mich. App. 361, 369; 605 N.W.2d 354 (1999).                   relationship between the timely and untimely acts is an
                                                                  insufficient basis upon which to find a continuing
     Plaintiff also argues that the trial court erred in          violation. Id.
dismissing her claim for sex discrimination under MCL
37.2101 et seq. To establish a prima facie case of sexual              In this case, plaintiff claims that distribution of the
discrimination under a disparate-treatment theory, as is          SCBA memo constitutes the timely event; in other words,
alleged here, plaintiff was required to show that she was a       the final straw in a series of discriminatory conduct.
member of a class deserving of protection under the               However, viewed in a light most favorable to plaintiff, a
statute, and that, for the same conduct, she was treated          reasonable factfinder could not conclude that the memo
differently than a man. Schultes v Naylor, 195 Mich.              was related in any way to the prior alleged [*7] incidents
App. 640, 645; 491 N.W.2d 240 (1992). The crux of a               or that it was the last in a series of hostile acts against
sexual discrimination case is that there are similarly            plaintiff. Accordingly, the trial court did not err in
situated individuals who have been treated differently            dismissing plaintiff's claim for sex discrimination.
because of their sex. Id. It is plaintiff's burden to establish
[*5] a prima facie case of sexual discrimination with                      Affirmed.
evidence that is legally admissible and sufficient to state
a prima facie claim. Id.                                                      /s/ Kathleen Jansen

     In this case, plaintiff failed to show that any man                      /s/ Brian K. Zahra
similarly situated to her was treated differently. Although
plaintiff presented evidence that other male firefighters                     /s/ Patrick M. Meter
had been taken to the hospital with chest pains and that
